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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------- X
                                                             :
  AHARON MILLER, et al.                                      :
                                                             :
                                      Plaintiffs,            :
                                                             :
                         - against -                         : 18-cv-2192 (BMC)
                                                             :
  ARAB BANK, PLC,                                            :
                                                             :
                                      Defendant.             :
                                                             :
 ----------------------------------------------------------- X
                                                             :
  NATHAN PAM, et al.                                         :
                                                             :
                                    Plaintiffs,              :
                                                             : 18-cv-4670 (BMC)
                        - against -                          :
                                                             :
 ARAB BANK, PLC,                                             :
                                                             :
                                    Defendant.               :
                                                             :
 ----------------------------------------------------------- X

                           MEMORANDUM DECISION AND ORDER

 COGAN, District Judge.

         These cases involve claims brought under the Anti-Terrorism Act (the “ATA”) against

 Arab Bank, PLC (“Arab Bank”), which has moved to dismiss the complaints in both actions.

 For the reasons stated below, the [30] motion to dismiss in the action docketed under docket

 number 18-cv-2192 is granted in part and denied in part, and the [12] motion to dismiss in the

 action docketed under docket number 18-cv-4670 is denied.
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                                         SUMMARY OF COMPLAINTS

          According to the complaints in the above-captioned proceedings, which are assumed to

 be true for purposes of defendant’s Rule 12(b)(6) motion, Arab Bank – a Jordanian bank with a

 branch in the State of New York that was converted into a federal agency in 2005 – provided

 financial support for 14 terrorist attacks in Israel and surrounding areas. Plaintiffs – all but six of

 whom are American citizens – were either injured in these attacks or are relatives of American

 citizens injured in these attacks. Designated foreign terrorist organizations (“FTOs”), including

 Harakat al-Muqawama al-Islamiyya (“Hamas”), 1 and their agents committed 12 of these attacks.

          These terrorist attacks were part of the Second Intifada, a terrorist campaign against the

 State of Israel from approximately 2000-2004. At a meeting at the beginning of the Second

 Intifada, terrorists discussed the need for a mechanism to distribute donations to the Second

 Intifada. The Chairman of Arab Bank noted that – although Arab Bank employees donated 5%

 of their salaries for the Second Intifada in October 2000 – the donations were not transferred to

 support the Second Intifada. Arab business and political leaders then formed a fund to further

 bankroll the Palestinian Authority and the Second Intifada. Arab Bank pledged $2,000,000 to

 support this fund, and the Chairman of Arab Bank personally pledged $500,000.

          In addition to these monetary contributions, Arab Bank provided various financial

 services in connection with the Second Intifada. Arab Bank processed over $30,000,000 for

 Hamas entities from various sources, as well as processing millions of dollars though New York

 for Hamas leaders. Arab Bank also maintained a large number of accounts for entities and




 1
   Hamas includes a political wing, a military wing, and a social service wing, Da’Wa. One of Da’Wa’s functions is
 to pay expenses for and assist the families of terrorists who were arrested, injured, or killed. Each component has
 different responsibilities but funds that Da’Wa collects are routed for terrorist attacks and are used to free up other
 funds for terrorist attacks. The United States Secretary of State designated Hamas as an FTO in 1997 and has
 renewed this designation every two years since 1997. Arab Bank provided banking services to Hamas.

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 individuals affiliated with Hamas and other American-, European-, and Israeli-designated

 terrorist organizations.

         One of the Hamas-related entities that maintained an account at Arab Bank was a

 fundraising network – the “Union of Good” – whose members included the Saudi Committee in

 Support of the Intifada Al Quds (the “Saudi Committee”). The Saudi Committee was established

 to support the families of “martyrs,” i.e. terrorists who died during terrorist attacks, Palestinians

 who were wounded when confronting Israeli security forces, and Palestinians held in Israeli

 custody. The Saudi Committee provided Hamas-controlled front organizations with over

 $15,000,000, including payments routed through Arab Bank.

         Further, Arab Bank administered a terrorist insurance scheme (the “Insurance Scheme”)

 in which the Saudi Committee provided over $35 million to martyrs and their families, including

 individuals responsible for attacks that have injured plaintiffs in the instant cases. To fund the

 Insurance Scheme, the Saudi Committee raised money from private donors in Saudi currency,

 converted the funds to U.S. dollars through Arab Bank’s then-operating New York branch, and

 routed the funds to local branches of the Arab Bank in the West Bank.

         To distribute these funds, the Saudi Committee and Hamas-affiliated organizations

 provided Arab Bank with detailed lists containing the names of the martyrs, their personal

 information, and the date and manner of their death, which often included bullets, bombs, and

 assassinations. The causes of death identified in lists provided to Arab Bank even included

 “Martyr Operation,” and – in the case of an individual who died carrying out a terrorist attack in

 the French Hill section of Jerusalem – “French Hill Operation.” The lists contained instructions

 to substitute transfers for these individuals with transfers for an attached list of beneficiaries.




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 The beneficiaries were encouraged to collect their benefits through Arab Bank, as illustrated

 through the following examples:

            •   In early 2001, an Arab Bank employee called a terrorist to inform him that,
                because the terrorist was injured and hospitalized, he was eligible for $1,330.
                The terrorist met with an Arab Bank employee who gave him a check for that
                amount;

            •   On July 1, 2001, a Palestinian newspaper published an announcement calling on
                residents of the West Bank and the northern Gaza Strip to collect their funds from
                the Insurance Scheme at Arab Bank;

            •   November 23, 2001, the Saudi Committee placed an announcement in a
                Palestinian newspaper listing the names of over 1,000 individuals killed or
                captured during the Second Intifada and invited their families “to go to the
                branches of the Arab Bank in their places of residence to receive their allocations
                donated by the Committee...”;

            •   On February 18, 2002, a Hamas front organization placed an advertisement in a
                Palestinian newspaper announcing that “the relatives of the martyrs, whose names
                hereby follow, are requested to head for the Arab Bank branches in their place of
                residence in order to receive the tenth payment from the Honorable Saudi
                Committee – a sum of 5,316.06 USD … .” One of the individuals on this list
                carried out a terrorist attack that injured multiple plaintiffs in the instant
                proceedings.

        The Insurance Scheme incentivized terrorists to commit acts of violence to receive the

 benefits. The Insurance Scheme also helped Hamas gather support among the Palestinian

 people, but it was open to terrorists belonging to any terrorist organization or none at all – not

 just Hamas-affiliated terrorists – which further incentivized terrorist attacks in Israel. By

 administering the Insurance Scheme, Arab Bank allowed donors to bypass corrupt Palestinian

 Authority officials, avoided the uncertainty associated with cash payments delivered by courier,

 and provided a professional accounting system that minimized the risk of duplicate payments

 and unreliable record-keeping.

        Arab Bank’s conduct prompted multiple lawsuits, including the instant proceedings, in

 which victims of terrorism alleged that Arab Bank violated the ATA. Litigation against the Arab

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 Bank also prompted the Office of the Comptroller of the Currency and the Financial Crimes

 Enforcement Network (“FinCEN”) to investigate Arab Bank.

        FinCEN found that, from 2000 to 2004, regulatory authorities in the Palestinian

 Territories provided Arab Bank with information regarding the fund transfers to beneficiaries

 with accounts at the Arab Bank and also ordered financial institutions to either freeze accounts of

 suspected criminals or place the accounts on a watch list. FinCEN also found that, despite a

 heightened risk of illicit activity, Arab Bank failed to implement proper compliance procedures.

 FinCEN also found that Arab Bank failed to conduct the proper investigations after Arab Bank

 learned that it cleared fund transfers for entities that the United States government later

 designated as terrorist organizations.

        In these two actions, plaintiffs claim that Arab Bank aided and abetted foreign terrorist

 organizations; provided material support to terrorists and foreign terrorist organizations; and

 committed acts of international terrorism. Plaintiffs seek damages and attorneys’ fees under the

 ATA. Arab Bank has moved to dismiss both actions for lack of personal jurisdiction under

 Federal Rule of Civil Procedure 12(b)(2) and for failure to state a claim upon which relief can be

 granted under Federal Rule of Civil Procedure 12(b)(6).



                                           DISCUSSION

        I.      Standing

        To have standing to sue, a plaintiff “must have (1) suffered an injury in fact, (2) that is

 fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed

 by a favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S.Ct. 1540, 1547 (2016). “[T]he

 ‘fairly traceable’ standard is lower than that of proximate cause.” Rothstein v. UBS AG, 708


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 F.3d 82, 95 (2d Cir. 2013). The “injury in fact” requirement is a “low threshold” designed “to

 ensure that the plaintiff has a personal stake in the outcome of the controversy.” John v. Whole

 Foods Market Group, Inc., 858 F.3d 732, 736 (2d Cir. 2017) (internal quotation marks omitted).

 “[E]motional harm satisfies the ‘injury in fact’ requirement of constitutional standing.” Doe v.

 City of New York, No. 18-cv-670, 2018 WL 3824133, at *14 (E.D.N.Y. Aug. 9, 2018).

        The ATA provides a cause of action for “[a]ny national of the United States injured in his

 or her person, property, or business by reason of an act of international terrorism, or his or her

 estate, survivors, or heirs … .” 18 U.S.C. § 2333. The ATA thus “excludes foreign nationals

 (with the possible exception of foreign survivors or heirs)” from its provision providing a cause

 of action. Jesner v. Arab Bank, PLC, 138 S.Ct. 1386, 1404 (2018). Further, under the ATA,

 someone who “survived the attack … has no ‘survivors’ or ‘heirs’ that can recover for his

 injuries on his behalf.” Morris v. Khadr, 415 F. Supp. 2d 1323, 1337 (D. Utah 2006).

        Courts permit “[p]laintiffs to pursue claims for solatium [emotional] damages” under the

 ATA. Lelchook v. Commerzbank AG, No. 10-cv-5795, 2011 WL 4087448, at *2 (S.D.N.Y.

 Aug. 2, 2011). “Spouses and relative[s] in direct lineal relationships are presumed to suffer

 damages for mental anguish.” Knox v. Palestine Liberation Organization, 442 F. Supp. 2d 62,

 78 (S.D.N.Y. 2006) (quoting Smith v. Islamic Emirate of Afghanistan, 262 F. Supp. 2d 217, 234

 (S.D.N.Y. 2003)). Family members do not need to be present for the terrorist attacks to recover

 under the ATA, because “a terrorist attack is precisely the sort of situation in which presence at

 the time is not required in light of the severity of the act and the obvious range of potential grief

 and distress that directly results from such a heinous act.” Estate of Heiser v. Islamic Republic

 of Iran, 466 F. Supp. 2d 229, 328 (D.D.C. 2006).




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        Here, the American citizen plaintiffs have standing. They either suffered physical and

 emotional injuries from the attacks, or are relatives of victims of the attacks and are presumed to

 suffer emotional damages regardless of whether they were present for the attacks. These

 plaintiffs’ injuries are likely to be redressed by the damages they seek, which are the remedies

 that Congress has found appropriate for victims of terrorism under the ATA. Further, “for the

 same reasons that there are triable proximate causation issues, a fortiori, there is sufficient

 evidence that Plaintiffs' injuries are fairly traceable to Defendant's conduct.” Strauss v. Credit

 Lyonnais, S.A., 925 F. Supp. 2d 414, 436-37 (E.D.N.Y. 2013) (“Strauss I”).

        However, Chaviva Braun, Yehuda Braun, Yoni Braun, Matanya Braun, Eliana Braun

 Peretz, and Oriella Braun – who are all plaintiffs in the action docketed under docket number 18-

 cv-2192 – are relatives of a United States national injured in a suicide bombing but they are not

 United States citizens. Because this United States national survived the attack, he has no

 survivors or heirs. Therefore, the ATA does not provide a cause of action for these six plaintiffs,

 and their claims are dismissed.

        II.      Personal Jurisdiction

        When deciding a motion to dismiss for lack of personal jurisdiction, courts may rely on

 pleadings and affidavits, in which case “the plaintiff need only make a prima facie showing that

 the court possesses personal jurisdiction over the defendant.” DiStefano v. Carozzi North

 America, Inc., 286 F.3d 81, 84 (2d Cir. 2001) (internal quotation marks omitted). When

 deciding whether the plaintiff has made such a prima facie showing, courts “construe the

 pleadings and affidavits in the light most favorable to [the plaintiff], resolving all doubts in his

 favor.” Id.




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         “This prima facie showing must include an averment of facts that, if credited by the

 ultimate trier of fact, would suffice to establish jurisdiction over the defendant.” Licci ex rel.

 Licci v. Lebanese Canadian Bank, SAL, 673 F.3d 50, 59 (2d Cir. 2012) (“Licci I”) (internal

 quotation marks and alterations omitted). When parties do not submit “an affidavit or other

 evidence on which the court could rely … the court must rely on the allegations in the complaint

 to determine if personal jurisdiction exists.” MacFarlane v. Brock, No. 3:00-cv-1097, 2000 WL

 1827353, at *2 (D. Conn. Nov. 30, 2000). Here, the parties have not submitted affidavits on the

 issue of personal jurisdiction.

          To determine whether a court has personal jurisdiction over defendants, courts first “look

 to the law of the forum state to determine whether personal jurisdiction will lie” and, if

 “jurisdiction lies, [courts] consider whether the district court's exercise of personal jurisdiction

 over a foreign defendant comports with due process protections established under the United

 States Constitution.” Licci ex rel. Licci v. Lebanese Canadian Bank, SAL, 732 F.3d 161, 168

 (2d Cir. 2013) (“Licci II”).

         New York’s long-arm statute provides that a court “may exercise personal jurisdiction

 over any non-domiciliary . . . who in person or through an agent … transacts any business within

 the state or contracts anywhere to supply goods or services in the state.” N.Y. C.P.L.R.

 302(a)(1). A single transaction is sufficient to satisfy this requirement, provided the relevant

 claims arise from that transaction. Bank Brussels Lambert v. Fiddler Gonzalez & Rodriguez,

 171 F.3d 779, 787 (2d Cir. 1999). To exercise specific jurisdiction 2 over a defendant consistent


 2
  Specific jurisdiction “depends on an affiliation between the forum and the underlying controversy, principally,
 activity or an occurrence that takes place in the forum State and is therefore subject to the State's regulation.”
 Waldman, 835 F.3d at 331. General jurisdiction, on the other hand, allows a court to hear any claims against a
 defendant who is “essentially at home” in the forum state. Id. (quoting Daimler AG v. Bauman, 571 U.S. 117, 120
 (2014)). Because Arab Bank, a Jordanian bank, is not essentially at home in New York, the Court does not have
 general jurisdiction over Arab Bank.

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 with the defendant’s due process rights, “the defendant's suit-related conduct must create a

 substantial connection with the forum State.” Waldman v. Palestine Liberation Organization,

 835 F.3d 317, 335 (2016). However, “[t]here is no requirement under § 302(a)(1) that a

 plaintiff’s claim must arise exclusively from New York conduct.” Strauss v. Crédit Lyonnais,

 S.A., 175 F. Supp. 3d 3, 25 (E.D.N.Y. 2016) (Strauss II).

        Moreover, the doctrine of pendent personal jurisdiction allows courts in a federal

 question case to assert “personal jurisdiction over a defendant with respect to a claim for which

 there is no independent basis of personal jurisdiction so long as it arises out of a common

 nucleus of operative facts with a claim in the same suit over which the court does have personal

 jurisdiction.” Action Embroidery Corp. v. Atlantic Embroidery, Inc., 368 F.3d 1174, 1180 (9th

 Cir. 2004). “[W]ithin the Second Circuit, the doctrine of pendent personal jurisdiction primarily

 has been embraced to permit the adjudication of pendent state law claims that derive from the

 same common nucleus of fact as a federal claim for which the court has jurisdiction over the

 defendant.” Strauss II, 175 F. Supp. 3d at 32.

        The Second Circuit has held that “the selection and repeated use of New York's banking

 system, as an instrument for accomplishing the alleged wrongs” under the ATA is sufficient for a

 bank to be subject to the specific jurisdiction of a district court in New York. Licci II, 732 F.3d

 at 171. In Licci II, the Second Circuit found specific jurisdiction proper over a bank that

 “deliberately chose to process … wire transfers … in New York” even though, “[i]n light of the

 widespread acceptance and availability of U.S. currency, [the bank] could have … processed

 U.S.-dollar-denominated wire transfers … through correspondent accounts anywhere in the

 world.” Id.




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        Further, to establish personal jurisdiction, ATA claims “do not necessarily [have to]

 correspond one-to-one with particular transfers, but instead [may] rest upon the millions of

 dollars [d]efendant allegedly transferred to Hamas front organizations in close temporal

 proximity to the … attacks in which Plaintiffs were injured.” Strauss II, 175 F. Supp. 3d at 24.

 See also Weiss v. National Westminster Bank PLC, 176 F.Supp.3d 264, 280 (E.D.N.Y. 2016)

 (finding personal jurisdiction over a bank proper when transfers routed through a bank

 “overlapped with the attacks … that caused Plaintiffs' injuries, but also occurred at a time when

 Defendant allegedly knew that funds it transferred … were being used to support a terrorist

 organization”).

        When transfers made through New York are “part of that allegedly unlawful conduct, the

 Court may exercise jurisdiction with respect to claims made in connection with all [relevant]

 attacks.” Strauss II at 24. “A foreign bank’s repeated use of a correspondent account in New

 York on behalf of a client – in effect, a course of dealing – shows purposeful availment of New

 York’s dependable and transparent banking system, the dollar as a stable and fungible currency,

 and the predictable jurisdictional and commercial law of New York and the United States.” Id.

 at 19 (internal quotation marks and alterations omitted).

        Here, as noted above, neither party has submitted affidavits relating to Arab Bank’s

 motion to dismiss for lack of personal jurisdiction. Therefore, the Court relies on the allegations

 in the complaint to determine whether it has personal jurisdiction over Arab Bank. These

 allegations are sufficient for plaintiffs to make a prima facie case that the Court has personal

 jurisdiction over Arab Bank because it chose to operate a branch in New York and benefit from

 New York’s legal and economic infrastructure. According to the complaints, Arab Bank used its




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 branch in New York to process millions of dollars for Hamas leaders as well as convert Saudi

 currency to U.S. dollars as part of the Insurance Scheme.

         Such conduct, in conjunction with the other financial services that Arab Bank allegedly

 provided in violation of the ATA, constitutes a single course of conduct in which Arab Bank

 provided financial services to terrorists in close proximity to the time of the terrorist attacks. The

 Court may therefore exercise personal jurisdiction over Arab Bank for all of plaintiff’s claims,

 despite Arab Bank’s claim that four of the attacks at issue did not involve Hamas or the Saudi

 Committee. Because personal jurisdiction is proper over Arab Bank for all of plaintiffs’ claims,

 the Court does not decide whether it may exercise pendent personal jurisdiction here.

         III.    Failure to State a Claim

         To survive a motion to dismiss for failure to state a claim upon which relief can be

 granted under Federal Rule of Civil Procedure 12(b)(6), “a complaint must contain sufficient

 factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

 v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

 (2007)). “A claim has facial plausibility when the plaintiff pleads factual content that allows the

 court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

 Iqbal, 556 U.S. at 678 (citation omitted). Here, the allegations in the complaints are sufficient to

 survive Arab Bank’s motion to dismiss for failure to state a claim upon which relief can be

 granted.

                 A.      Arab Bank’s Primary Liability

                         1.      International Terrorism

         As noted above, section 2333(a) of the ATA provides that “[a]ny national of the United

 States injured in his or her person, property, or business by reason of an act of international


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 terrorism, or his or her estate, survivors, or heirs, may sue” for damages. Section 2331(1) of the

 ATA defines “international terrorism” as activities that:

        (A) involve violent acts or acts dangerous to human life that are a violation of the
        criminal laws of the United States or of any State, or that would be a criminal
        violation if committed within the jurisdiction of the United States or of any State;

        (B) appear to be intended—

                   (i) to intimidate or coerce a civilian population;
                   (ii) to influence the policy of a government by intimidation or coercion; or
                   (iii) to affect the conduct of a government by mass destruction,
                   assassination, or kidnapping; and

        (C) occur primarily outside the territorial jurisdiction of the United States, or
        transcend national boundaries in terms of the means by which they are
        accomplished, the persons they appear intended to intimidate or coerce, or the
        locale in which their perpetrators operate or seek asylum;

        The Second Circuit has “conclude[d] … that providing routine financial services to

 members and associates of terrorist organizations is not so akin to providing a loaded gun to a

 child as to … compel a finding that as a matter of law, the services” met the definition of

 “international terrorism” under the ATA. Linde v. Arab Bank, PLC, 882 F.3d 314, 327 (2d Cir.

 2018) (“Linde II”). Whether financial services are “routine … raises questions of fact for a jury

 to decide.” Id.

        In a persuasive opinion that the Second Circuit described at length in Linde II, Judge

 Posner explained that a defendant who provides financial support to an organization like Hamas

 who “knew the aims and activities of the organization” would “by augmenting Hamas's

 resources … enable Hamas to kill or wound, or try to kill, or conspire to kill more people in

 Israel.” Boim v. Holy Land Foundation for Relief and Development, 549 F.3d 685, 694 (7th Cir.

 2008). “And given such foreseeable consequences, such donations would appear to be intended

 to intimidate or coerce a civilian population or to affect the conduct of a government by



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 assassination, as required by section 2331(1)” of the ATA. Id. (internal quotation marks and

 alterations omitted). Even if one does not know the organization engages in terrorism, liability is

 appropriate when one “is deliberately indifferent to whether it does or not, meaning that one

 knows there is a substantial probability that the organization engages in terrorism but one does

 not care.” Id. at 693.

        Under these circumstances, “[g]iving money to Hamas, like giving a loaded gun to a

 child (which also is not a violent act), is an ‘act dangerous to human life’” under the ATA. Id. at

 690. Providing financial services like wire transfers under these circumstances is also dangerous

 to human life since “financial services increase Hamas' ability to carry out attacks in the same

 way, and Congress made no distinction between these different forms of material support in

 criminalizing them.” Linde v. Arab Bank, PLC, 97 F. Supp. 3d 287, 323 (E.D.N.Y. 2015)

 (vacated on other grounds) (“Linde I”).

        Here, plaintiffs have adequately alleged that Arab Bank committed acts of international

 terrorism under the ATA. Arab Bank’s administration of the Insurance Scheme was dangerous

 to human life under 18 U.S.C. § 2331(1)(A) because, by rewarding acts of terrorism, it

 incentivized prospective “martyrs” to commit acts of violence and enhanced Hamas’s reputation

 among potential recruits. Arab Bank further enhanced terrorists’ ability to conduct acts of

 violence by routing payments and maintaining accounts for terrorists and terrorist organizations.

        As part of this financial support for terrorism, Arab Bank received lists for the Insurance

 Scheme that identified violent causes of death – including “Martyr Operation” – which was more

 than sufficient notice for Arab Bank about the nature of the Insurance Scheme it was

 administering. FinCEN reported also that Arab Bank failed to investigate after learning that it

 provided financial services to entities that the United States government later designated as



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 terrorist organizations. Further, Palestinian publications openly advertised Arab Bank’s role in

 providing payments to the families of martyrs, and the complaints identify at least one Arab

 Bank employee who reached out to a terrorist to explain that he is eligible for payment for his

 injuries.

         The most plausible inference from the complaints is that Arab Bank knew it was doing

 business with terrorists who were going to use violence to attack civilians. Even if Arab Bank

 did not know the nature of its customers, its ignorance would be the result of deliberate

 indifference; in that case, Arab Bank cannot ignore blatant red flags and then use its deficient

 compliance program as a shield against liability. Arab Bank’s conduct therefore meets the

 requirements of 18 U.S.C. § 2331(1)(B). Moreover, because this conduct primarily occurred

 outside of the United States, Arab Bank’s conduct also meets the requirements of 18 U.S.C.

 § 2331(1)(C).

         Arab Bank’s argument to the contrary is not persuasive. Arab Bank contends that its

 conduct – which it characterizes as providing automated, electronic banking services – falls

 below the standard of international terrorism. However, deciding whether “Arab Bank's

 financial services to Hamas should … be viewed as routine … raises questions of fact for a jury

 to decide.” Linde II, 882 F.3d at 327. At a minimum, plaintiffs have raised questions of fact that

 are not appropriate for resolution in connection with a motion to dismiss.

                        2.      Causation

         Section 2333(a)’s requirement that the injury must occur “by reason of an act of

 international terrorism” requires a showing that defendant’s conduct was a proximate cause of

 plaintiff’s harm, i.e. the conduct was a “substantial factor in the sequence of responsible

 causation and whose injury was reasonably foreseeable or anticipated as a natural consequence.”


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 Rothstein v. UBS AG, 708 F.3d 82, 92 (2d Cir. 2013) (internal quotation mark and italics

 omitted). Allegations that a defendant provided money to terrorist organizations, or transferred

 money that was given to terrorist organizations, strengthens the inference that plaintiff’s injuries

 were proximately caused by a defendant’s conduct under the ATA. See id. at 97.

        However, a showing that defendant’s conduct was the “’[b]ut for’ cause [of plaintiff’s

 injuries] cannot be required in the section 2333(a) context.” Gill v. Arab Bank, PLC, 893 F.

 Supp. 2d. 474, 507 (E.D.N.Y. 2012). Requiring a showing of but-for causation would eviscerate

 Section 2333(a) of the ATA because money is fungible. Linde I at 324. “Even if an ATA

 plaintiff could show that a particular dollar was used in furtherance of a particular attack – a

 requirement rejected by this Court – that plaintiff still could never prove that absent the

 defendant's providing that dollar, a group like Hamas would not have made up the shortfall from

 elsewhere.” Id.

        In such circumstances “the requirement of proving causation is relaxed because otherwise

 there would be a wrong and an injury but no remedy because the court would be unable to

 determine which wrongdoer inflicted the injury.” Boim, 549 F.3d at 697. See also Paroline v.

 US, 572 U.S. 434, 452 (2014) (“[I]t would be anomalous to turn away a person harmed by the

 combined acts of many wrongdoers simply because none of those wrongdoers alone caused the

 harm …”).

        Here, plaintiffs have sufficiently alleged that Arab Bank’s conduct was the proximate

 cause of their injuries. According to the complaints, the payments that Arab Bank administered

 through the Insurance Scheme incentivized terrorists to commit acts of violence and also

 enhanced Hamas’s reputation among potential recruits. One of the “martyrs” whom Hamas




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 identified as an eligible recipient of a terrorist insurance payment was responsible for the terrorist

 attack that injured multiple plaintiffs here.

        Arab Bank’s role in the Insurance Scheme also encouraged donations to terrorists

 because donors could use Arab Bank’s services to avoid corrupt Palestinian Authority officials,

 unreliable couriers, and inaccurate record-keeping. Further, Arab Bank maintained accounts for

 terrorist organizations, and routed payments to terrorist organizations, which further enhanced

 their ability to fund and commit acts of terrorism. In light of the nature of the Saudi Committee,

 Hamas, and other entities that Arab Bank provided these services to, it was reasonably

 foreseeable that Arab Bank’s conduct would lead to plaintiff’s injuries.

        Although Arab Bank contends that the complaints do not sufficiently allege that its

 conduct was a “but for” cause of the attacks, this purported deficiency in the complaints is not a

 reason to dismiss plaintiff’s claims. Plaintiffs may or may not be able to show that their injuries

 would not have occurred “but for” Arab Bank’s conduct, but, as noted above, no such showing is

 necessary under the ATA.

                B.      Arab Bank’s Secondary Liability

        Under 18 U.S.C. § 2333(d), for “an injury arising from an act of international terrorism

 committed, planned, or authorized by an organization that had been designated as a foreign

 terrorist organization” the ATA provides for liability “as to any person who aids and abets, by

 knowingly providing substantial assistance, or who conspires with the person who committed

 such an act of international terrorism.” Under this provision of the ATA, the “person” who

 committed such an act of international terrorism may include individuals but may also include

 associations, societies, and other entities. See 1 U.S.C. § 1.




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         Aiding and abetting liability under the ATA requires that: “(1) the party whom the

 defendant aids must perform a wrongful act that causes an injury, (2) the defendant must be

 generally aware of his role as part of an overall illegal or tortious activity at the time that he

 provides the assistance, and (3) the defendant must knowingly and substantially assist the

 principal violation.” Linde II at 329 (internal quotation marks omitted). A plaintiff does not

 have to prove the defendant “knew of the specific attacks at issue when it provided financial

 services for” organizations like Hamas to prove the defendant’s general awareness, but to be

 liable a defendant must have been “generally aware that it was thereby playing a role in Hamas's

 violent or life-endangering activities.” Id. (internal quotation marks omitted).

         When determining whether the defendant knowingly and substantially assisted the

 principal violation, courts look to factors including “(1) the nature of the act encouraged, (2) the

 amount of assistance given by defendant, (3) defendant's presence or absence at the time of the

 tort, (4) defendant's relation to the principal, (5) defendant's state of mind, and (6) the period of

 defendant's assistance.” Id. (citing Halberstam v. Welch, 705 F.2d 472, 483-84 (D.C. Cir.

 1983)). 3 The provision of banking services, “in an unusual way under unusual circumstances for

 a long period of time” supports the inference that the defendant provided knowing assistance.

 Halberstam, 705 F.2d at 487.

         Here, plaintiffs have adequately alleged secondary liability under the ATA. Twelve of

 the attacks at issue were caused by FTOs and their agents. For years, Arab Bank provided

 banking services – including, but not limited to, administering the Insurance Scheme – that

 assisted their terrorist campaign under circumstances indicating that Arab Bank had a culpable

 state of mind, as explained above. Arab Bank also maintained accounts for Hamas, its affiliates,


 3
  Congress has instructed courts to apply the “legal framework” delineated in Halberstam when determining aiding
 and abetting liability under the ATA. Linde II at 329.

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 and other terrorist organizations, which is further demonstrates its close relationship with the

 perpetrators.

        Even if Arab Bank did not know about the specific attacks at issue when it provided

 financial support for terrorist organizations, it was generally aware of its role in violent activities

 in light of the causes of death identified on the lists Arab Bank received as part of the Insurance

 Scheme and in light of the information Arab Bank received indicating that it cleared fund

 transfers for entities that the United States government later designated as terrorist organizations.

        Arab Bank seeks to minimize its role by noting that the complaints only alleged that Arab

 Bank provided financial services to four individuals who directly participated in the attacks, but

 a defendant may be liable under the ATA for aiding the organization behind the attacks, not only

 the individual “triggerman” or suicide bomber. That is precisely why Congress broadly defined

 “person” under the ATA to include entities, as well as individuals.

        Arab Bank further contends that, since the terrorist organizations it provided financial

 services to were also engaged in humanitarian activities, Arab Bank was not generally aware it

 was playing a role in their terrorist activities. However, these “humanitarian” activities involved

 providing payments to the families of terrorists through the Insurance Scheme that Arab Bank

 administered. The allegation that Arab Bank provided banking services “in an unusual way

 under unusual circumstances,” Halberstam, 705 F.2d at 487 – including by administering the

 Insurance Scheme for individuals whose cause of death included “Martyr Operation” – strongly

 suggests that Arab Bank was generally aware of the nature of the conduct it was supporting.

 Therefore, Arab Bank’s argument is not persuasive.




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                                         CONCLUSION

        The [30] motion to dismiss in the action docketed under docket number 18-cv-2192 is

 granted in part and denied in part, and the [12] motion to dismiss in the action docketed under

 docket number 18-cv-4670 is denied.

 SO ORDERED.
                                            Digitally signed by
                                            Brian M. Cogan
                                                             U.S.D.J.

 Dated: Brooklyn, New York
        March 10, 2019




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